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                        UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                           CIVIL ACTION
YALE UNIVERSITY, ANGELA GLEASON,                           No. 3:16-cv-00885-AVC
JASON KILLHEFFER, and OTHERS
UNKNOWN,
     Defendants.



PLAINTIFF’S REPLY TO DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION
      TO COMPEL PRODUCTION OF DOCUMENTS AND ANSWERS TO
                        INTERROGATORIES

       Plaintiff Jack Montague hereby submits this Reply in support of his Motion to Compel

Production of Documents and Answers to Interrogatories (ECF No. 119). Yale in its Opposition

has failed to meet its burden of “demonstrating specifically how, despite the broad and liberal

construction afforded the federal discovery rules,” the discovery Plaintiff seeks “is not relevant

or . . . is overly broad, unduly burdensome or oppressive.” Benavidez v. Greenwich Hotel

Limited Partnership, 2017 WL 1051184, at *2 (D. Conn. 2017). The additional discovery which

Plaintiff seeks to compel through the instant Motion is all directly relevant to Plaintiff’s claims

and compliance with the requests would not impose any undue burden on Yale. For the reasons

set forth below and in Plaintiff’s opening brief (ECF No. 119), the Court should grant Plaintiff’s

Motion.
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                                            ARGUMENT

   I.       The Discovery Sought into the “Dollar Bills Case” is Relevant and Imposes a
            Minimal Burden on Yale

        As explained in Plaintiff’s opening brief, Plaintiff in this lawsuit has challenged the

jurisdiction of Yale’s University Wide Committee on Sexual Misconduct (“UWC”) to hear a

complaint against Plaintiff stemming from an incident during Plaintiff’s freshman year at Yale in

which he stuffed a used pizza plate down the shirt of a female senior who was belittling him.

Plaintiff alleges that this incident (which the parties have referred to as the “UWC I” incident)

did not involve sexual misconduct and thus should not have been adjudicated by the UWC or

been treated as a prior offense of sexual misconduct on Plaintiff’s disciplinary record, a

designation which ultimately had dire consequences for Plaintiff. Discovery has revealed that

when the UWC I complaint was originally lodged by the complaining student, members of the

UWC openly questioned whether the incident could be properly regarded as an incident of sexual

harassment appropriate for adjudication by the UWC, or instead should be referred to Yale’s

Executive Committee which adjudicates all other types of student misconduct. Plaintiff seeks

narrow discovery into a precedential disciplinary matter, the so-called “Dollar Bills Case” which

then-chair of the UWC, Michael Della Rocca characterized as another jurisdictional “close call”

in emails with other members of the UWC deliberating the jurisdictional question. The

information sought is plainly relevant and despite Yale’s specious argument to the contrary,

compliance with Plaintiff’s narrowed request imposes no undue burden.

        Yale argues that the Dollar Bills Case is irrelevant to Plaintiff’s claims in this litigation

for two principal reasons. First, Yale argues that the Dollar Bills Case could not be relevant to

Plaintiff’s jurisdictional argument because it appears, based on Della Rocca’s email, that the

UWC ultimately retained jurisdiction over the Dollar Bills Case and did not refer it to the

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Executive Committee. Second, Yale argues that the Dollar Bills Case is irrelevant because, it

contends, Plaintiff waived his right to challenge the UWC’s jurisdiction over the UWC I case

because he did pursue an internal appeal of the finding against him in that case. Neither

argument is persuasive.

           a. Information Concerning the “Dollar Bills” Case, Which Yale Admits Was a
              Jurisdictional “Close Call”, Is Relevant To Plaintiff’s Jurisdictional Challenge
              Concerning the UWC I Case.

       First, the fact that the UWC members may have ultimately determined that the Dollar

Bills Case involved conduct which they deemed sufficiently sexual in nature to confer

jurisdiction on the UWC does not render the Dollar Bills Case irrelevant to Plaintiff’s claims in

this litigation. If, for example, the Dollar Bills Case involved conduct that was more clearly

sexual in nature than the pizza plate incident that led to the UWC I complaint against Plaintiff,

the fact that the UWC chairman characterized the Dollar Bills case as a “close call” would

support Plaintiff’s contention that his pizza plate incident was not a close call, and the UWC

exceeded its jurisdiction in adjudicating it. Given the comparison which the UWC chairman

himself drew between the two cases, Plaintiff is entitled to know the nature of the conduct at

issue in the Dollar Bills Case and the reasoning which led the UWC members to conclude that

the UWC did indeed have jurisdiction over that case. Separately, the role which the gender of

the parties played in the UWC’s decision to accept jurisdiction over the Dollar Bills Case is

relevant to Plaintiff’s Title IX claim arising from Yale’s handling of the UWC I case.

           b. Plaintiff’s Waiver Defense is Not Grounds To Refuse To Provide Discovery
              Relevant to Plaintiff’s Claims

       Nor is the Dollar Bills Case immune from discovery because Yale asserts that Plaintiff

waived his right to challenge the jurisdiction of the UWC to adjudicate the pizza plate incident

by failing to pursue an internal appeal. Yale has not moved to dismiss the counts of the

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operative Amended Complaint relating to the UWC I case, and so long as these claims remain

part of the case, Plaintiff is entitled to take discovery on them. Yale can move for summary

judgment on these claims at the appropriate time if it thinks it has a winning legal defense.

       In any event, there is no merit to Yale’s waiver defense. Yale’s procedures specify that

“[t]he only grounds for appeal” of a UWC decision are (i) procedural error that prevented the

hearing panel or the decision maker from judging the matter fairly, or (ii) the discovery of facts

that were not reasonably available to the appealing party prior to the UWC hearing and that

support or refute the allegation of sexual misconduct. See UWC Procedures, Motion Ex. J, at

Sec. 7.7. There was thus no available administrative procedure whereby Plaintiff could

challenge the jurisdiction of the UWC to hear the case or the determination that the conduct to

which he was admitting constituted an act of sexual misconduct. Accordingly, the doctrine of

exhaustion of administrative remedies does not apply. See, e.g., Stepney, LLC v. Fairfield, 263

Conn. 558, 565 (2003) (recognizing that doctrine of exhaustion of administrative remedies does

not apply when “recourse to an administrative remedy would be futile or inadequate”); Mendillo

v. Board of Education, 246 Conn. 456, 467 (1998) (holding an “administrative remedy is futile

or inadequate if the agency is without authority to grant the requested relief”).

       Even if there were any merit to Yale’s waiver argument, the Dollar Bills Case would still

be relevant to Plaintiff’s claim that he was denied basic fairness when the UWC II panel that

recommended his expulsion treated the UWC I incident as a prior offense of sexual misconduct,

as well as his Title IX claims arising from the handling of the UWC I matter as a sexual

misconduct offense based solely on the gender of the parties involved.




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            c. Yale’s Grossly Overstates The Effort Required to Produce Responsive
               Documents Relating to the Dollar Bills Case

         Finally, Yale grossly overstates the burden associated with producing documents

responsive to Plaintiff’s narrowed requests. Yale retains the case files for all UWC cases and

can easily retrieve and produce the file for the Dollar Bills Case. To the extent documents

responsive to the second part of Plaintiff’s narrowed requested, i.e., documents reflecting any

discussion between the UWC decision makers concerning the decision whether to accept

jurisdiction, are not included in the official case file, they can be collected via a targeted search

of the email of then-UWC Chairman Della Rocca using the involved students’ names or the case

number. The likely small number of responsive documents, including the case file, can be

redacted to protect the privacy of the students involved. Yale’s assertion that the search for and

production of documents responsive to Plaintiff’s narrowed request would somehow involve

thousands of documents defies logic.

   II.      Plaintiff is Entitled to the Redacted UWC Case Files of the Sixteen Relevant
            Precedential UWC Cases Identified in Plaintiff’s Amended Complaint

         Yale repeats its well-worn burden objection in response to Plaintiff’s request for the

production of the UWC case files for the sixteen relevant precedential cases identified in

Paragraph 179 of the Amended Complaint. The case files are maintained by the UWC pursuant

to its recordkeeping practices and are thus easily retrievable; the only real burden associated with

this request would be the ministerial task of redacting student names and identifying information,

which can be performed by non-attorney staff. This burden is outweighed by the relevance of

the case files requested by Plaintiff, the vast majority of which involve cases in which sanctions

less than expulsion were imposed despite the students’ being found responsible for conduct that,

as best Plaintiff can tell based on the exceedingly vague published descriptions, was similar to

the conduct with which Plaintiff was charged. A substantial question is thus raised whether Yale
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consistently applied relevant precedents in accordance with its rules, see Ex. J, when it decided

to expel Plaintiff. Yale should be required to produce these case files. Yale’s alternative request

for in camera review is inappropriate and unnecessary here where there is no claim of privilege

over the files and counsel would be bound to maintain requisite confidentiality.

   III.      Plaintiff is Entitled to an Answer to Interrogatory No. 6 Regarding Outcomes
             Experienced by Other Students Expelled from Yale for Sexual Misconduct

          Based on a typographical error in Plaintiff’s opening brief, Yale sets up a straw man and

knocks it down. As the substance of Plaintiff’s argument in his brief makes clear, see Motion at

13-14, Plaintiff has moved to compel an answer to Interrogatory No. 6 to Plaintiff’s Third Set of

Interrogatories, Motion Ex. B at 4-5, which seeks certain basic information about cases since

July 1, 2011 in which students were expelled from Yale for sexual misconduct, including Yale’s

knowledge of the outcomes experienced by those students since being expelled. Yale’s counsel

previously represented that there are approximately 5 or 6 (and certainly fewer than 10) cases

that meet this criteria. See Motion Ex. F. at 4. There is no undue burden associated with

providing this highly relevant information, most of which has already been gathered by Yale and

submitted to the Court on an ex parte basis in connection with Plaintiff’s Motion for Preliminary

Injunction. The information can either be de-identified in such a way as to protect the identity of

the students, or given the small number of students involved, Yale can opt to notify those

students consistent with its obligations under FERPA. There is no legitimate basis for Yale to

continue to withhold this critical information.

   IV.       Yale’s Newly-Asserted Privilege Objection to Producing the Fall 2015 Title IX
             Training Materials Is Without Merit

          Yale initially refused to produced materials presented at its annual Title IX Training held

in the Fall of 2015 on the grounds that Plaintiff’s request for these materials was untimely. The

relevance of these materials is discussed at length in Plaintiff’s opening brief. As explained in
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the opening brief, these materials were timely requested, both because the specific request for the

Fall 2015 materials was made as a follow-up to the deposition of Yale’s chief Title IX officer

which was conducted by agreement after the close of fact discovery, and because the materials

are responsive to other, broader document requests previously served within the fact discovery

period. Rather than respond to Plaintiff’s argument that the documents sought are responsive to

these earlier-served requests, Yale now asserts an alternative basis for withholding these training

materials: that they were presented by Susan Sawyer of Yale’s Office of the General Counsel

and thus are protected by the attorney-client privilege. This late-advanced argument has no

support in the law.

       Case law establishes that compliance materials which are widely disseminated to

employees within a corporate organization do not qualify for the attorney-client privilege, even if

drafted by an attorney, essentially because the scope of distribution renders illusory any

assurance of confidentiality. See, e.g., Hartford Life Ins. Co. v. Bank of America Corp., 2007

WL 2398824, at *3 (S.D.N.Y. 2007) (corporate compliance presentation regarding due diligence

prepared by in-house and outside counsel not protected by attorney-client privilege); In re

Sulfuric Acid Antitrust Litigation, 235 F.R.D. 407, 430-31 (N.D. Ill. 2006) (no privilege for

antitrust compliance manuals distributed to corporate employees). Even if the training materials

sought might be privileged under different circumstances, any privilege that might have

otherwise attended materials drafted by Ms. Sawyer was vitiated when those materials were

presented at the training session. Because Yale refuses to produce even the attendance records

for these training sessions, it is impossible for Plaintiff to fully evaluate Yale’s dubious claim of

privilege. But the limited evidence in the record concerning these annual trainings indicates that

in addition to employees of the Title IX office, SHARE Center, UWC, Yale Police Department,


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and independent contractors hired as UWC fact finders, Yale’s Title IX trainings also include

students serving on the UWC, affiliated with the SHARE Center, and/or belonging to various

other campus constituencies. See Ex. A, Transcript of August 31, 2017 Deposition of Stephanie

Spangler, at 48:9-23. Yale cannot possibly maintain attorney-client privilege over materials

disseminated so broadly, with no reasonable assurance that they would be kept confidential.

                                        CONCLUSION

       For the reasons set forth above and in Plaintiff’s opening brief (ECF No. 119), the Court

should GRANT Plaintiff’s Motion to Compel.


                                            JACK MONTAGUE,

                                            By his attorneys,

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Dated: January 8, 2018




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                           CERTIFICATE OF SERVICE

I, Christian G. Kiely, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) on January 8, 2018

                                             /s/ Christian G. Kiely




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